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                         EXHIBIT 6
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( '~             U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES                                 Public Health Service

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                                                                                              Centers for Disease Control
                                                                                                and Prevention (CDC)
                                                                                              Atlanta GA 30329-4027


              May 19, 2025

              Via email at alan_garber@harvard.edu
              Dr. Alan Garber
              Office of the President
              Harvard University
              Massachusetts Hall
              Cambridge, MA 02138

              Dr. Garber:

                      The Centers for Disease Control and Prevention (CDC), as an agency within the
              Department of Health and Human Services (HHS), is hereby providing notice that funding for the
              projects listed herein will be terminated pursuant to the HHS Grants Policy Statement (GPS) and
              45 C.F.R. Part 75.

                      CDC is responsible for ensuring that its limited resources are appropriately allocated. HHS
              policy is that grant dollars should support institutions that foster safe, equal, and healthy working
              and learning conditions conducive to high-quality research, and free inquiry.4 HHS policy is also
              that grant dollars should only support institutions that comply with principles and laws of
              nondiscrimination.

                     CDC is aware of recent events at Harvard University involving antisemitic action that
              suggest the institution has a disturbing lack of concern for the safety and wellbeing of Jewish
              students. Harvard’s ongoing inaction in the face of repeated and severe harassment and targeting
              of Jewish students has ground day-to-day campus operations to a halt, deprived Jewish students of
              learning and research opportunities to which they are entitled, and brought shame upon the
              University and our nation as a whole. Indeed, as the Harvard Presidential Task Force on Combating
              Antisemitism and Anti-Israeli Bias concluded, actions at Harvard during the 2023-2024 academic
              year resulted in widespread abuse of Jewish and Israeli students by an institution “that
              mainstreamed and normalized what many Jewish and Israeli students experience as antisemitism
              and anti-Israeli bias.”

                     Supporting activities consistent with CDC’s mission in such an environment is plainly
              inconsistent with HHS’ policies and raison d’etre of funding and championing the very best of
              American public health practice.

                     Based on the above, no corrective action is possible here. That is because, upon being made
              aware of systematic institutional failures to address deeply rooted antisemitism and racial
              discrimination, the University has refused to take appropriate action. CDC perceives these
              categorical rejections to manifest the University’s unwillingness to take corrective action or
              implement necessary reforms. Therefore, no modification of the projects could align the projects
              with agency priorities.
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        Costs resulting from financial obligations incurred after termination are not allowable.
Nothing in this notice excuses either CDC or you from complying with the closeout obligations
consistent with 45 C.F.R. Part 75. CDC will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.

Administrative Appeal

       You may object and provide information and documentation challenging these
terminations. The awards subject to termination are as follows:

             •   NU38PW000040
             •   NH78TU000001
             •   U19OH008861
             •   U54CK000611
             •   U48DP006376
             •   U48DP006785
             •   U48DP006873
             •   R21OH012626
             •   T42OH008416
             •   R01TS000315
             •   R01TS000318
             •   R01TS000338

        You must submit a request for such review to Matthew Buzzelli, CDC’s Chief of Staff and
the Senior Official carrying out the duties of the CDC Director, no later than 30 days after this letter
is received, except that if you show good cause why an extension of time should be granted, Mr.
Buzzelli may grant an extension of time.

       The request for review must include a copy of this decision, must identify the issue(s) in
dispute, and must contain a full statement of your position with respect to such issue(s) and the
pertinent facts and reasons in support of your position. In addition to the required written statement,
you shall provide copies of any documents supporting your claim.



Sincerely,

/S/
Jamie W. Legier
Director, Office of Grants Services
Centers for Disease Control and Prevention
Department of Health and Human Services
